
685 S.E.2d 428 (2009)
300 Ga. App. 442
EVANS
v.
The STATE.
No. A07A1346.
Court of Appeals of Georgia.
October 13, 2009.[*]
Mary Erickson, for Appellant.
David McDade, Dist. Atty., Paige E. Boorman, Asst. Dist. Atty., for Appellee.
MILLER, Chief Judge.
In State v. Evans, 285 Ga. 67, 673 S.E.2d 243 (2009), the Supreme Court of Georgia reversed the judgment of this Court in Evans v. State, 288 Ga.App. 304, 653 S.E.2d 503 (2007). Therefore, we vacate our earlier opinion and adopt the opinion of the Supreme Court as our own.
Judgment reversed.
SMITH, P.J., and BARNES, J., concur.
NOTES
[*]  After publication of the case, the court vacated the opinion and a new one was issued Jan. 14, 2010.

